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                   Case:   1:17-cv-06260
                    Fraternal                     Document
                              Order of Police Chicago           #: 715
                                                      Lodge #7 Mail-       Filed:Re:
                                                                     RE: [External] 03/01/19       Page
                                                                                      lllinois.gov File     1 ofLink-
                                                                                                        Transfer  2 PageID    #:5305
                                                                                                                      CHICAGO PD BODY CAM REPORT...




                                                                                              Robert Bartlett <rbartlett@chlcagofop.org>



   RE: [External] Re: lllinois.gov File Transfer Link- CHICAGO PO BODY CAM REPORT
   18-422
   Robert Bartlett <rbartlett@chicagofop.org>                                                                 Mon, Mar 26, 2018 at 10:01 AM
   To: "Raffety, Anthony" <Anthony.Raffety@illinois.gov>

     Anthony,

     Thank you for the call back.

     I attached a list of all the employees who claim to have a Lead Homicide Investigator Certification and Copies they sent of
     the certifications.

     Thank You for your help in this matter.

     I look forward to your response.

     Fraternally,

     Bob Bartlett
     [Quoted text hidden]


      2 attachments
      &'rh·. COPA Lead Homicide Investigator List.xlsx
      ~ 14K                 ·

      ~       Lead Homicide Investigator Certificates.pdf
              4082K




                                                                                                                                 EXHIBIT

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      Case: 1:17-cv-06260 Document #: 715 Filed: 03/01/19 Page 2 of 2 PageID #:5306


COPA Investigators
Jill Ausdenmoore                Scott Crouch
Anthony Beckneck                Cynthia Erno
David Berland                   Matthew E. Haynam
Gino Betts                      Joshua T. Hunt
Mark Clark                      Loren A. Seidner
Robert Coleman                  Elaine Tarver
Sherry Daun                     Jay Westenesee
Jaqueline Hennard
Regina Halloway
Markjavier
Andrea Kersten
Brian Killen
James Lukas
Norelis Martinez
Mark Mitchell
Chantal! Morley
James Murphy-Aguilu
Wilbert Neal
Caterina Oliveri
Adam Pfeifer
Erica Sangster
Lakenya White
Christina Chojnacki
Andrew Dalkin
Brian Dollar
Shannon Hayes
Ramona Hendricks
Steffany Hreno
Thomas Kalantzis
Helen O'Shaughnessy
Marie Elena Olvera
Danielle Peterson
Sean Rochford
Jessica Sanchez
Brandon Crase
                 Case: 1:17-cv-06260 Document #: 715-1 Filed: 03/01/19 Page 1 of 1 PageID #:5307




            WICKLANDER-ZULAWSKI
                                               & ASSOCIATES
                                               DOWNERS GROVE, ILLINOIS
                                                            HEREBY CERTIFIES THAT




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                                                    ,                 May 8-12, ·2 017                          ~ ...·
                This seminar has been approved by the ~ois Law Enforcement Training & Standards Beard to ~ lhe 40-hour course requirements of
      Illinois Public Act 96-1111 (SB 3491) for a training-pta~ iJJ,death and homicide investigation fQ!' law enforcement officers oflocal government agencies.
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 Co -Chairman                                                                                                                                 Instr u ctors • J
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2/28/2019
                 Case:   1:17-cv-06260 Document #: 715-2 Filed: 03/01/19 Page 1 of 3 PageID #:5308
                  Fraternal Order of Police Chicago Lodge #7 Mail- RE: [External] Re: lllinois.gov File Transfer Link- CHICAGO PO BODY CAM REPORT. .. .




                                                                                               Robert Bartlett <rbartlett@chlcagofop.org>



 RE: [External] Re: lllinois.gov File Transfer Link- CHICAGO PO BODY CAM REPORT
 18-422
 Raffety, Anthony <Anthony.Raffety@illinois.gov>                                                                 Tue, Mar 20, 2018 at 8:08 AM
 To: Robert Bartlett <rbartlett@chicagofop.org>


   Mr. Bartlett,



   We received your request: Any certifications for Chicago's Civilian Officer of Police Accountability or their predecessor
   Independent Police Review Authority for Lead Homicide Investigator and Crash Reconstruction Specialist.



   We have no records.




                                      Anthony.Raffety
                                      Program Manager
                                      Ufinois Law Enforcement Training: & Standards Board
                                      4500 S. Sixth Street Road, Room 173
                                    , Springfiefd, IL 62703-6617
                                      Phone: (217) 782-4540
                                      Fax: (217) 524-53-50
                                      Email: Anthmw~R.affety@lllinois.gov




  From: Robert Bartlett <rbartlett@chicagofop.org> ·
  Sent: Tuesday, March 20, 2018 8:03 AM
  To: Raffety, Anthony <Anthony.Raffety@illinois.gov>
             '                                    '   '

  Subject: [External] Re: lllinois.gov File Transfer Link- CHICAGO PD BODY CAM REPORT



  Anthony,



  I faxed an additional FOIA request on March 12th. I have not received a response . .·



  Is there an'jWay to check to see if your FOIA dep~rtment            di~   receive it.                                             EXHIBIT

  It was a request for Lead homicide investigator certifications.
                                                                                                                                       F
 2/28/2019     Case:   1:17-cv-06260
                 Fraternal                    Document
                           Order of Police Chicago          #: 715-2
                                                   Lodge #7 Mail-        Filed:Re:03/01/19
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                                                                                                     Transfer    3 CHICAGO
                                                                                                              Link- PageIDPO#:5309
                                                                                                                             BODY CAM REPORT ...

     Thank You for your time,



     Bob Bartlett



     On Wed, Mar 14, 2018 at 7:52AM, <anthony.raffety@illinois.gov> wrote:

        You have a file (Chicago P.D .. pdf) waiting for you, sent by anthony.raffety@iflinois.gov.

        Message from sender: FOIA Request #18-423


        To download the file, simply click this link https://flleT.illinois.gov/filet!download.asp?key=
        68aFollFCu0TofoqCPvNr5ai0dnVP4Eb


        If you are unsure of the sender, or question the file, validate with the sender anthony.raffety@illinois.gov before
        downloading




     Robert Bartlett

     FOP Lodge 7

     Field Representative

     Legal Defense Chair

     (312} 733-7776 EXT 227

     1412 W. Washington Boulevard

     Chicago, IL. 60607



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    product privilege, or any other exemption from disclosure.




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                 Case:    1:17-cv-06260 Document #: 715-2 Filed: 03/01/19 Page 3 of 3 PageID #:5310

                                                                                                       Robert Bartlett <rbartlett@chicagofop.org>



   RE: [External] Re: lllinois.gov File Transfer Link- CHICAGO PD BODY CAM REPORT
  .18-422
   Raffety, Anthony <Anthony. Raffety@illinois.gov>                                                                       Mon, Mar 26, 2018 at 4:05 PM
   To: Robert Bartlett <rbartlett@chicagofop.org>
   Cc: "Petty, Ellen" <EIIen.Petty@illinois.gov>


      I found no Board certifications for Lead Homicide Investigator training for any of the names on your list. The LHI
      certificates that you sent me are not Board certified certificates. If they were, they would have a certificate number
      on them.



      The attachments are the only two individuals that I have law enforcement records for, but I would still like to cross
      reference them (Peterson and Pfeifer) with DOBs, if you have them. Also, I need a DOB for Mark Mitchell due to
      multiple results.




                                         Anthony Raffety
                                         Program Manager
                                         Illinois law Enforcement Training & standards Board
                                         4500 S. Sixth Street Road1 Room 173
                                         Springfield, IL 62703-6517
                                         Phone: (217) 782-4540
                                         Fax: (217) 524-5350
                                         Email: Anthony.Raffety@illinois.gov




     From: Robert Bartlett <rbartlett@chicagofop.org>
     Sent: Monday, March 26, 2018 10:01 AM
     To: Raffety, Anthony <Anthony.Raffety@illinois.gov>

     [Quoted text hidden]

     [Quoted text hidden]


      2 attachments

      '!J   Peterson.pdf
            595K
      !j    Pfeifer.pdf
       -    582K




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2/2812019     Case: Asher,
                    1:17-cv-06260            Document
                           Gittler & D'Aiba, Ltd.             #: 715-3
                                                  Mail- Fwd: [External]      Filed: 03/01/19
                                                                        Re: lllinois.gov               Page
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                                                                                                             CHICAGO           #:5311
                                                                                                                        BODY CAM REPORT 18-422



                                                                                                                               D'Aiba, Joel. <jad@ulaw.com>



   Fwd: [External] Re: lllinois.gov File Transfer Link- CHICAGO PD BODY CAM REPORT 18-422
   7 messages

                                                                                                                                 Mon, Feb 25, 2019 at 5:23PM




             From: "Petty, Ellen" <Ellen. Petty@illinois.gov>
             Date: September 10, 2018 at 1:58:43 PM COT
             To: Robert Bartlett <rbartlett@c hicagofop. org>
             Subject: RE: [External] Re: lllinois.gov File Transfer Link- CHICAGO PO BODY CAM REPORT 18-422


             Thank you!




             Ellen Petty
             Personal Assistant to the Executive Director

             Illinois Law Enforcement Training and Standards Board



                      From: Robert Bartlett <rbartlett@chicagofop.org >
                      Sent: Monday, September 10, 2018 1:44PM
                      To: Petty, Ellen <EIIen .Petty@ill inois.gov>
                      Cc: Kevin Graham <kgraham@chicagofop.org>
                      Subject: Re: [External] Re: lllinois.gov File Tran sfer Link- CHICAGO PO BODY CAM REPORT 18-422




                      On Mon, Sep 10, 2018 at 1:01 PM, Petty, Ellen <EIIen.Petty@illinois.gov> wrote:

                         Mr. Bartlett,


                         Good afternoon.


                         Director Fischer has asked me to contact you to obtain a phone number for
                         President Graham to discuss speaking at the meeting in Chicago next week.


                         Thank you,                                                                                                   EXHIBIT


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 2/28/2019
                 Case:Asher,
                       1:17-cv-06260           Document #: 715-3 Filed: 03/01/19 Page 2 of 3 PageID #:5312
                             Gittler & D'Aiba, Ltd. Mail- Fwd: [External] Re: lllinois.gov File Transfer Link- CHICAGO PD BODY CAM REPORT 18-422

                           Ellen Petty
                           Personal Assistant to the Executive Director

                          Illinois Law Enforcement Training and Standards Board



                                   From: Robert Bartlett <rbartlett@chicagofop.org>
                                   Sent: Wednesday, September 5, 2018 3:45 PM
                                   To: Petty, Ellen <Eilen.Petty@illinois.gov>

                          Subject: Re: [External] Re: lllinois.gov File Transfer Link- CHICAGO PO BODY CAM REPORT 18-422



                                   Ms. Petty,



                                   I'd like to thank you again for your help in the past.



                                   I hopping you can again assist me.



                                   The Chicago FOP President, Kevin Graham, would like to address the Board at their quarterly meeting
                                   this month when they are here in Chicago. He is interested in addressing them regarding the issues
                                   steaming from Chicago Office of Police Accountability(COPA). Their authority to investigated Officer
                                   Involved Deaths. An authority they have no legal authority to posses and the problems it is and can
                                   cause.



                                   I know they allow time for public input but think this issue would take longer then the allotted three
                                   minutes.



                                   If you could put me into contact with the right individual to inquire if there is time for President Graham
                                   to address the board it would be greatly appreciated.



                                   Thank You.



                                   Bob Bartlett



                                   On Tue, Mar 27, 2018 at 8:38AM, Petty, Ellen <EIIen.Petty@illinois.gov> wrote:

                                     Mr. Bartlett,


                                     I would like to expand a little bit on Mr. Raffety's response to you.


                                     In order for someone to be a certified Lead Homicide Investigator, they
                                     must first be a certified law enforcement officer who is currently
                                     working as a sworn full time or part time law enforcement officer for a
             !    j                  recognized local law enforcement agency. Second, they must have
                                     attended a state certified 40 hour Lead Homicide Investigator course
                                     through one of the Mobile Team Units around the state, and then they
https://mail.google.com/mail/u/1?ik=bb31e6fe96&view=pt&search=all&permthid=thread-f"/o3A1626485044854027597&simpl=msg-l%3A162648504485402759...    2/10
                   Case: 1:17-cv-06260 Document #: 715-3 Filed: 03/01/19 Page 3 of 3 PageID #:5313
 2/28/2019                Asher. Gittler & D'Aiba, Ltd. Mail- Fwd: [External] Re: lllinois.gov File Transfer Link- CHICAGO PD BODY CAM REPORT 18-422

                                         must attend 32 hours of additional LHI certified training every 4 years
                                         thereafter to maintain their certification. All certified LHis receive an
                                         IVlTU certificate, a State of Illinois certificate, AND a numbered
                                         ILETSB certificate from this office. That final numbered certificate is
                                         where they get their official LHI number which identifies them as a
                                         state certified Lead Homicide Investigator.


                                         While Wicklander-Zulawski is one of the vendors who have been
                                         approved by ILETSB to provide the 40 hour LHI certification course
                                         through the MTUs, that certification is only valid for courses offered
                                         through the MTUs. If they should provide that same class, outside of
                                         the MTU system that reports to ILETSB, it is not certified, and those
                                         who attend the course are not certified Lead Homicide Investigators.


                                         For instance, if a law enforcement officer becomes certified as an LHI
                                         while he is working for a police agency, and he then retires and takes a
                                         private security job not affiliated with a law enforcement agency, his
                                         LHI certification is no longer valid, because he is no longer employed
                                         as a sworn law enforcement officer. However, in that same scenario, if
                                         he were to leave his department to go work for another law
                                         enforcement agency, his LHI certification would remain intact.


                                        If a civilian person were to attend a 40 hour LHI course, they have
                                        simply attended 40 hours of instruction in that topic, because as a
                                        civilian, they are ineligible to become a certified Lead Homicide
                                        Investigator. We do not track civilians who may have received this
                                        training - only certified law enforcement officers who are eligible to be
               i   j
                                        state certified.
                   ;
               l   '



                                        I hope this helps to clarify the matter of who can and cannot be a state
                                        certified Lead Homicide Investigator, for future reference.




                                        Ellen Petty
                                        Personal Assistant to the Executive Director

                                        Illinois Law Enforcement Training and Standards Board




                                                  From: Raffety, Anthony
                                                  Sent: Monday, March 26, 2018 4:05 PM
                                                  To: Robert Bartlett <rbartlett@chicagofop.org>
                                                  Cc: Petty, Ellen <EIIen.Petty@illinois.gov>
                                                  Subject: RE: [External] Re: lllinois.gov File Transfer Link- CHICAGO PD BODY CAM REPORT
                                                  18-422

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    Case: 1:17-cv-06260 Document #: 715-4 Filed: 03/01/19 Page 1 of 1 PageID #:5314
                    .                    .                                                                                                                                                                                                                                                                                                                                                    .

                    Illinois Law Enforcement Training and Standards Board
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                  :S:ru.ce RB.uner; Governor .                                                                                                                                                                                                                                                                   Phone: ~i7l782•4s4o ·
                . Brent Fischer, Executi:v-e Director                                                                                                                                                                                                                                                                 Fa"'{: 217/524·5350
                                                                                                                                                                                                                                                                                                                     TD:O: 866-740"'3933

  October 25, 2018


  President Kevin Graham
  Fraternal Order of Police
  Chicago Lodge #7 · · :
  1412 West Washiilgton Blvd.
  Chicago, IL 60607

  Re: COPAauthorities

  Dear President Graham:

 the ILErsB has a longstanding history of recognizing COPA and its predecessor, IPRA, as a
 civilian staffed Office of the Chicago municipal government. The current form of its enabling .
 ordinance allows for itS employees to conduct investigations, but does not allow for the making
 of arrests, the atrthority to carry firearms, or convey general police powers. Because of this, the ··
 Board has customarily denied any official forms of appointment to law eD.forcement positions by
 the Chief Administrator of COPA and such, employees are denied participation in basic academy
 or MTU-sponsored courses.

 Section 10.11 of the Police Tra:i:rring Act provides that "Only law enforcement officers who
 successfully complete the (lead homicide investigator) training program may be assigned as lead
 investigators in death and.homicide investigations." 50 ICLS 7-5/10.11 Additionally, Section 2
 of the Act defines "Law enforcexn.~t officer" as "any police officer of a local governmental
 agency who is primarily responsible for prevention or detection of crime and the enforcem~t of
 the criminal code, traffic, or highway laws of this State or any political Sl.ibdivisioP. of this
 State...» so ILCS 705/2.                        .                 .

 Because COPA employees are not police officers of the Chicago Police Depa.rtment and are not
 prbnarily responsible for the prevention and detection of crime, they are not "law enforcement
 officers" and are therefore ineligible to serve as lead investigators in death and homicide
 investigations. While the Board does not revoke any certifications withdraw prior approvals                                                                                                                                                          or
 when an officer leaves their law enforcement employment, the ability to serve as a lead homicide
 investigator ceases upon receipt of their specific forms of separation. This means that any
 officer who was properly LHI certified while working as a law enforcement officer will continue
 to hold such certification upon retirement or separation, but no lo.llger has the authority to serve
 in that eapacity.                                                   ·

 We understand that the tecbnicru nature of police certification can confusing. However, we                                                                                                                                                          be
 trust that this explanation of our analysis clarifies the Board's position on the role of COPA
 (IPRA) moving forward.




                                                                                                                                                                                                                                                                                                                                             EXHIBIT



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Case: 1:17-cv-06260 Document #: 715-5 Filed: 03/01/19 Page 1 of 12 PageID #:5315
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                                      BET\NEEt~


                         THE CIT¥ Of CHICAGO
                                                AND
                    FRATERNAL ORDER OF POLICE
                       CHICAGO LODGE Nco i




                          232 E. OHIO STREET
                           CHICAGO, ILLINOIS
                             Tel.: 467-6336




                                                 EXHIBIT 1                                                                         EXHIBIT
                                                                                                                              j3     ::r.
Case: 1:17-cv-06260 Document #: 715-5 Filed: 03/01/19 Page 2 of 12 PageID #:5316




                         '1. PREAMBLE..........................................................                  'I
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                                SOARD OF DIRECTORS

                                    JOHN M. DINEEN, President
                       VICE PRESIDENTS            FINANCIAL SECRETARY
                       MIKE NICOLETTI             JOHN GRIZZOFFI, SR.
                       TONY FINNEU.Y
                       DICK LIS                   SERG EANTS..AT-AAMS
                                                  TONY BELMONTE
                       TREASURER
                                                  WALLY SIEMIENIAK
                       BILL NOLAN
                                                  RAY TALIMONCHUK
                       RECORDING SECRETARY
                       JIM LIS


                                          TRUSTEES
                      JOHN BRENNAN               HERB LITZ
                      ED OOJUTREK                PAUL NIELSEN
                      JOHN DUFFY                 GEORGE PATTON, SR.
                      BILL FOSTER                BOB POOGORNY
                      JIM GOFF                   RON SHOGREN
                      ED HAND                    TOM SKELLY
                      KEN HAUSER                 MIKE SULLIVAN.
                      VERNE J.OHNSON·            OINO VERRE
                      HERB KORDECK




                            ATTEND GENERAL. MEETINGS
                          4th WEONESOAY OF THE MONTH
Case: 1:17-cv-06260 Document #: 715-5 Filed: 03/01/19 Page 4 of 12 PageID #:5318




                         This Agreement Is entered into by and between the
                     City of Chicago, an Illinois municipal corporation
                     {(herein referred to as the "Employer"} and the Fra-
                     ternal Order of Police, Chicago Lodge No. "' (here-
                     Inafter referred to as the "lodge").
                         H Is the purpose of this Agreement and 11 Is the
                     Intent of the parties hereto to establish and promote
                     mutual harmonious understanding and relationships
                     between the Employer and the Lodge to promote de-
                     partmental efficiency and effectiveness, to establish
                     wages, hours, standards and Qther terms and condi-
                     tions of employment of officers covered by this Agree-
                     ment, and to provide for the equitable and J'<!aceful
                     adjustment and resolution of differences which may
                     arise from time to time over the negotiations, inter-
                     pretation and application of this Agreement.

                       In consideration of the mutual promises, covenants
                    and Agreement contained herein, tile parties hereto,
                    by their duly-authorized representatives and/or agents,
                    do mutually covenant and agree as follows:



                                           ARTICLE 2
                                         RECOGNITJON

                        The Employer recognizes the lodge as the sole
                    and exclusive collective bargaining representative for
                    all sworn police officers below the rank of sergeant
                    (herein referred to as "officer"J, excluding probationary
                    officers employed by the Employer in Its Department
                    of Police, provided said probationary J'<!riod shall not
                    extend beyond the present twelve (12)-month period.

                        The normal probationary period shall consist of
                    twelve (12} months of actual presence during active
                    duty. Consequently, time absence from duty or not
                    served, for any rsason, sha!l not apply toward aatis·
                    faction of the probationary period. During the pro-
                    bationary period an officer is not entitled to any rights,
                    privileges or b-enefits under this agreement.
                                             -1-
Case: 1:17-cv-06260 Document #: 715-5 Filed: 03/01/19 Page 5 of 12 PageID #:5319




                     Section 3.1 Ma!ntenane~~~ of Memben;hlp and
                     Agency Shop.
                         A. Each officer who on the effective date of this
                     Agreement is a member of the Lodge, and each offi-
                     cer who becomes a member after that date, shall, as
                     a condition of employment, maintain his membership
                     in good standing in the Lodge during the term of this
                     agreement.
                         B. Any present officer who Is not a member of
                     the Lodge shall, as a condition of employment, be
                     required to pay a fair share (not to exceed the amount
                     of Lodge dues) of the cost of the collective bargaining
                     process and contract administrati0!'1. All officers hired
                     on or after the effective date ·Of this Agreement and
                     who have not made application for membership shall,
                     on or after the thirtieth day following the completion
                     of their probationary period, also be required to pay
                     a fair share of the cost of the collective bargaining
                     process and contract administration.

                     Section 3.2      lodge Presentation AJ. Orientation.
                         The Employer shall grant the Lodge an opportu-
                     nity during the orientation of new officers to present
                     the benefits of membership in the Lodge.

                     Seetlon   ··:u   Dues DG!duetion..
                        With respect to any officer on whosei behalf ~e
                    Employer receives written : authorization · in a· foim
                    agreed upon by the Lodge end the Employer, the
                    Employer shall deduct from the wages of the officer
                    the dues and/or financial obligations uniformly re-
                    quired and shall forward the fu!i amount to the Lodge
                    by the tenth (10th) day of the month following the
                    month in which the deductions are made. The
                    amounts deducted shall be In accordance with l!i
                    schedule to be submitted to the Employer by the
                    Lodge. Authorization for such deduction aha!! be Ir-
                    revocable unless revoked by written notice to the
                    Employer and the Lodge during the fifteen ('15}-day
                    period prior to the expiration of this contract The

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                     Employer will not slmllarty deduct the dues ef a~ny
                     other organization as to officers covered by this agree-
                     ment
                     ~on          8.4   lndemntly.
                        The lodge eshall Indemnify ano :::ave the Employer
                    harmless against any and- all claims, demands, suits
                    or other forms of liability that shaH arise out of or by
                    reason of action taf.'.en by the Employer for the pur-
                    pose of complying with the above provisions of this
                    Article, or In reliance on any list, notices, certification
                    or assignment furnished under any of such provisions.


                                             JLemcLE 4
                                         MANAGEMENT RIGHTS
                        The Employer has and will conti_nue to r?taio the
                    right to operate and manage Its tl.ftairs In each and
                    every respect. The rights reserved to the sole discre-
                    tion of the Employer shall Include, but not be limited
                    to, rights:
                            (a) to determine the organization and opera-
                                tions of the Department of Police;

                            (b) to determine and change the purpose,
                                composition and function of each of Its
                                constituent departments, and subdivisions;

                            (c) to set standards for    the   services to   oo   of-
                                fered to the public;

                            (d) to direct the officers of the Department of
                                Police, ·including the right to as$ign work
                                and overtime;

                            (e)    to hire, examine, classify, select, promote,
                                   restore to career service positions, train,
                                   transfer, assign and sche:t-.·'"' officern;
                            {f)    to increase, reduce or change, modify or
                                   alter the composition and size    of the wt~ft
                                   force, including the . right to   relieve em-
                                   ployees from duties because        of laclc of
                                   work or funds or other proper     reasons;
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                              (g) to contract cut work when essential 11'1    th~
                                  exercise of police power;
                             (h) to establish work schedules and to deter·
                                 mine the starting and quitting time, and the
                                 number of hours to be worked;
                             (I}   to establish, modify, combine or abolish
                                   job positions and classifications;
                             (j)   to ndd, delete or alter methods of operno
                                   tion, equipment or facilities;
                             {ft) to determine the locations, r.wthods,   metmS,
                                  and personnel by which operations        am to
                                  be conducted, including the right       to de-
                                  termine whether goods or services       are to
                                  be made, provided or purchased;
                             (I)   to establish, implement and maintain an
                                   effective Internal control program;
                             (m) to suspend, demote, discharge, or take
                                 other disciplinary action agairnrt gfficern
                                 for just cause; li!nd
                             (n) to add, delete or after policies, procedures,
                                 rules and regulations.
                          Inherent managerial functions, prerogativea li!fld
                      policy-making rights, whether listed above or not,
                      which the Employer has not expressly restricted by a
                      specific provision of this agreement are not In any
                      way, directly or Indirectly, subject to the grievance
                      and arbitration procedures contained herein, provided
                      that no right is exercised contrary to or Inconsistent
                    · with. other terms of this Agreement

                                             ARTICLES
                                           ·NO STRIKE
                     S0etion 5.1     NQ Strik® Cornml~nl
                         Neither the lodge nor any officer will call, institute,
                     authorize, participate in, sanction, encourage, or retify
                     any strike, work stoppage, or other concerted rsfusal
                     to perform duties by any officer or officer group, or
                     the concerted Interference with, ln whole or In part.
                     the full, faithful and proper performance of tha duties
                                               ~.e   .....
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                    A.P<.l OFFICER UNDER INTERROGATION SHAL.t H..~VE
                    THE RIGHT TO BE REPRESENTED BY COUNSEL OF
                    HIS OWN CHOICE AND TO HAVE THAT COUNSEL
                    PRESENT AT ALL TIMES DURING THE INTERROGA-
                    TION, AND/OR AT THE REQUEST OF THE OFFICER
                    UNDER INTERROGATION, HE SHALL HAVE THE
                    RIGHT TO BE REPRESENTED BY A REPRESENTA·
                    TIVE OF THE LODGE, WHO SHALL BE EITHER A
                    POLICE OFFICER ON LEAVE TO WORK FOR THE
                    LODGE OR A RETIRED POLICE OFFICER WORKING
                    FOR THE LODGE. THE INTERROGATION SHALL BE
                    SUSPENDED FOR A REASONABLE TIME UNTIL REPe
                    RESENTATION CAN BE OBTAINED.


                        FRATERNAL. ORDER OF POLICE
                        LODGE REPRESENTATIVES:
                         JOHN DINEEN, PRESIDENT




                            24 HOUR TELEPHONE-467-6336


                          DISTRICT OR UNIT REPRESENTATIVE:

                    .                .
                   . TELEPHONE NUMBER: - - - - - - - - - -


                               WATCH REPRESENTATIVE:



                   TELEPHONE NUMBER: - - - - - - - - - -
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                        of employment with th@ Employer. Neither the Lodglal
                        nor any officer shall rnfuse to CI"O$S s.ny picket line
                        by whomever established.                                '
                        S€!-CUon 5..2   RHumptlor; ef OperatloM,.
                           In the event of action prohibited by Section 5.1
                       above, the Lodge immediately shalf disavow such ac-
                       tion and request the officers to return to work and
                       shall use its best efforts to "achieve a prompt re;ump-
                       tio~ of normal operations. The Lodge, Including Its
                       off1clals and agents, shall not be liable for any dam-
                       ages, direct or indirect, upon complying with the m-
                       quirernents of this Section.
                       Section 5.3      uruon   Ulibllft.r.
                            Upon the    failure of the Lodge to comply with the
                        provisions of   Section 5.2 above, any agent or official
                        of the Lodge    who Is an officer covered by this Agree-
                        ment may be      subject to the provisions of Section 6.4
                       ·below.
                       s.ction 5.4      DleclpUne of Strlkem.
                           Any officer who violates the provisions of Section
                       5.1 of this Article sliall be subject to Immediate dis-
                       charge. Any action taken by the Employer against any
                       officer who participates in action prohibited by Section
                       5.1 above shall not be considered as a violation of
                       this Agreement and shalf not be subject to the provi-
                       sions of the grievance procedure; except that the
                       Issue of whether an officer in fact participated In a
                       prohibited action shall be subject to the grievance
                       arid arbitration procedure.

                                               ARTICLE I
                                            BILL OF RIGHTS
                      · ~c:tien ••1     ~uct Of D'sclplln&IJ· lnvestiga!k.m.
                          Whenever an officer covered by this Agreemeflt 18
                       the subject of a Disciplinary Investigation other than
                       Summary Punishment, the Interrogation will be con-
                       ducted in the following manner:
                          1..   The interrogation of.• the officer, other than In
                                the Initial stage of the Investigation shall .~
                                achec!uled at a reasonapr& . time, preferably
                                                   -5-
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                               'While tiw officer i8 00 duty,   0;1'   n f-3asibkil, dt-ll"
                               ing daylight hourn.
                        S.    The Interrogation, depending upon the allega-
                              tion, will normafly take place at either the
                              officer's unit of assignment, the Office of Pro-
                              fessional Standards, the Internal Affairs Divi-
                              sion, or other appropriate location.
                        C.    Prior to an interrogation, the officer under In-
                              vestigation shalf be informed of the identity of
                              the person in charge of the investigation, the
                              interrogation officer and the identity of alf per-
                              oons present during the interrogation. When a
                              formal statement is baing taken. all questions
                              directed to the officer under interrogation shalf
                              be asked by and through one Interrogator.
                        0.    No anonymous complaint made against an
                              officer shall be made the subject of a Com-
                              plaint Register investigation unless the alle-
                              gation is of a criminal nature.
                        E.    Immediately prior· to the Interrogation of an
                               officer under Investigation, he shall be In-
                               formed In writing of the nature of the com-
                               plaint and the names of all complainants.

                        F.   The length of Interrogation sessions will                ~
                              reasonable, with reasonable Interruptions per-
                              mitted for personal necessities, meals, tele-
                              phone calls and resl

                        G.    An officer under Interrogation shall not be
                              threatened with transfer, dismissal or disci-
                              plinary action or promised a ·reward as en
                              Inducement to provide information relating to
                              the Incident under investigation or for exer- ·
                              cisiQg any rights contained herein:

                       H. . An officer under Investigation will be provided
                             · without unnecessary delay, with a copy ·of any ·
                               written statement he has made.

                       I.    H the allegation under Investigation             lndicafes
                             a recommendation for separation is               probable
                             against the officer the officer will be         given the
                             s;tatutory administrative proceedings           rights, or
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                               lf the &lllegaUon Indicates criminal prosse~?
                               tion is probable against the officer the officer
                               will be given the constitutional rights concern-
                               Ing self-incrimination prior to the commence-
                               ment of interrogation.

                          J.   An officer under Interrogation shall have the
                                right to be represented by counsel of his own
                                choice and to have that counsel present at
                               all times during the Interrogation, rmd/or at
                               the request of the officer under Interrogation,
                               he shall have the right to be represented by
                               a representative of the lodge, who shall be
                               either a police officer on leave to work for
                               the Lodge or a retired police officer working
                               for the Lodge. The Interrogation shall be zus-
                               pended for a reasonable time until represen-
                               tation can be obtained.

                      Section 8.2    Non-adoption Of Ordinance.
                         The City of Chicago shall not adopt any ordinance
                      and the Chicago Police Department shall ·not adopt
                      any regulation which prohibits the right of an officer
                      to bring suit arising out of his duties as an officer.

                      ~on      6.3   Photo D11eamlnat1on
                          No photo of an officer under Investigation ahafl
                      be made available to the media prior to a conviction
                      for a criminal offense or prior to a decision being
                      rendered by the Police Board .

                     .Section U      Compulsion Of Testimony.
                           The Chicago Police Department shalf not compel
                       an officer undet investigation to speak or testify be-··
                     . fore, or to be questioned by any nongovernmental.
                       agency relating to any matter or Issue under investi-
                       gation.

                      Sectlcm e!.!   ALrto--rel!l!fdenq< Card.
                          No officer shalf be required to submit the Informa-
                      tion now required in an Auto-Residency Card as It
                      applies to any other mamber of his family or house-
                      hold.
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                      ~oetfotro ~      &'l~!li:I~Y.."&
                        When lfl polygraph exam h': deemed noeesssry, tiw
                     eomplafnant will be requested to taka a polygraph
                     exam first.
                         if the complainant N)fuses to taka a polygraph
                     exam, the accused police officer wm not be required
                     to take a polygraph exam. If the complainant takes
                     the polygraph exam and the results Indicate decep-
                     tion, the accused officer may be required to take a
                     polygraph exam covering those Issues wherein tile
                     examiner determines that the complainant Is truthful.
                         When the polygraph Is used, the accused member
                     will be advised 24 hours prior to the administering of
                     the tests, In writing, of any·questions to which the De-
                     partment wllf require Bn Br!Swer.
                           If the officer under Investigation requests to tal<e
                     t1   polygraph exam, he may do ao.
                         In eases where the complainant Is unknown or
                     anonymous, an officer will nol be ordered to take t1
                     polygraph exam.

                                                  AATICU!"'
                                       SUMMARY PUNISHMENT
                     Section 7.1      Admlnblratlon Of Summary Punts."tmenL
                         It Is agreed that the provisions contained elsewhere
                     fn this Agrooment shall not apply to Summary Punish-
                     ment action, which action shall be considered as an
                     alternative to formal disciplinary procedures, ·provided
                     that In each such action the following . shall apply:
                          A.   The summary punishment which may be ·ac~­
                               ministered Is limited to: . ·
                               1. reprimand;
                               2: excusing e member for   a minimum of one
                                    day to· a maximum of three days without
                                    pay.
                               in ll!!!u of daya off without pay, an officer may
                               be   ~rmitted to utilize eccumurated ~mpeo­
                               &~atory time or to wort\ regular days off wlttt-
                               out pay to satisfy the 111ummary punishmemt
